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                                 Exhibit G




November 4, 2020                          Baliga v. Link Motion Inc. et al., No. 1:18-cv-11642
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                                 UNITED STATES
                     SECURITIES AND EXCHANGE COMMISSION
                                                        Washington, D.C. 20549



                                                            FORM 20-F

 (Mark One)
 ☐ REGISTRATION STATEMENT PURSUANT TO SECTION 12(B) OR 12(G) OF THE
   SECURITIES EXCHANGE ACT OF 1934
                                                                       OR

 ☒ ANNUAL REPORT PURSUANT TO SECTION 13 OR 15(D) OF THE SECURITIES EXCHANGE
   ACT OF 1934
                                                For the fiscal year ended December 31, 2016.

                                                                       OR

 ☐ TRANSITION REPORT PURSUANT TO SECTION 13 OR 15(D) OF THE SECURITIES
   EXCHANGE ACT OF 1934
                                                                       OR

 ☐ SHELL COMPANY REPORT PURSUANT TO SECTION 13 OR 15(D) OF THE SECURITIES
   EXCHANGE ACT OF 1934
                                      Date of event requiring this shell company report

                                         For the transition period from              to

                                                     Commission file number: 001-35145




                                              NQ MOBILE INC.
                                            (Exact name of Registrant as specified in its charter)




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                                                                        N/A
                                                   (Translation of Registrant’s name into English)

                                                                Cayman Islands
                                                   (Jurisdiction of incorporation or organization)

                                                   No. 4 Building, 11 Heping Li East Street
                                                     Dongcheng District, Beijing 100013
                                                       The People’s Republic of China
                                                       (Address of principal executive office)

                                                     Roland Wu, Chief Financial Officer
                                                           Tel: +86 (10) 8565-5555
                                                          E-mail: roland@nq.com
                                                          Fax: +86 (10) 8565-5518
                                                                No. 4 Building
                                                          11 Heping Li East Street
                                                             Dongcheng District
                                                                Beijing 100013
                                                      The People’s Republic of China
                            (Name, Telephone, E-mail and/or Facsimile number and Address of Company Contact Person)

                              Securities registered or to be registered pursuant to Section 12(b) of the Act:

                             Title of Each Class                                                 Name of Exchange on Which Registered
      Class A common shares, par value US$0.0001 per share                                         New York Stock Exchange*

 * Not for trading, but only in connection with the listing on New York Stock Exchange of the American depositary shares, or the ADSs.
   Currently, one ADS represents five Class A common shares.



                              Securities registered or to be registered pursuant to Section 12(g) of the Act:

                                                                       None
                                                                   (Title of Class)

                        Securities for which there is a reporting obligation pursuant to Section 15(d) of the Act:

                                                                       None
                                                                   (Title of Class)




 Indicate the number of outstanding shares of each of the Issuer’s classes of capital or common stock as of the close of the period covered
 by the annual report. 438,236,787 Class A common shares (excluding 10,292,605 Class A common shares represented by ADSs that are
 reserved for issuance upon the exercise of outstanding options and 892,495 Class A common shares represented by ADSs that have been
 repurchased but not cancelled), par value US$0.0001 per share, and 50,352,968 Class B common shares, par value US$0.0001 per share,
 as of December 31, 2016.

 Indicate by check mark if the registrant is a well-known seasoned issuer, as defined in Rule 405 of the Securities Act.          Yes ☐      No ☒

 If this report is an annual or transition report, indicate by check mark if the registrant is not required to file reports pursuant to
 Section 13 or 15(d) of the Securities Exchange Act of 1934 Yes ☐ No ☒

 Indicate by check mark whether the registrant: (1) has filed all reports required to be filed by Section 13 or 15(d) of the Securities

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 We do not believe that we or our oversea subsidiaries meet all of the conditions above and thus we do not believe that we or our oversea
 subsidiaries are PRC resident enterprises, though a substantial majority of the members of our management team as well as the
 management team of our offshore holding companies are located in China. However, we have been advised by our PRC counsel,
 Jincheng Tongda & Neal, that there remains uncertainty regarding the interpretation and implementation of the EIT Law and its
 implementation rules, and there is no assurance that we or our oversea subsidiaries will not be treated as a PRC resident enterprise. If we
 are considered a resident enterprise and earn income other than dividends from our PRC subsidiaries, a 25% enterprise income tax on
 our global income may significantly increase our tax burden and materially and adversely affect our cash flow and profitability.
 Dividends paid between PRC companies are not generally subject to PRC withholding tax. However, it is unclear whether this
 exemption applies to foreign companies considered PRC residents under the EIT law. Accordingly, if we or our oversea subsidiaries are
 treated as a PRC resident enterprise, it is uncertain whether dividends we or our oversea subsidiaries receive from our PRC subsidiaries
 would be subject to PRC withholding tax.


 The enforcement of the Labor Contract Law and other labor-related regulations in the PRC may adversely affect our business and
 our results of operations.
 China enacted the Labor Contract Law effective on January 1, 2008. The Labor Contract Law introduces specific provisions related to
 fixed-term employment contracts, part-time employment, probation, consultation with labor union and employee assemblies,
 employment without a written contract, dismissal of employees, severance, and collective bargaining, which together represent
 enhanced enforcement of labor laws and regulations. According to the Labor Contract Law, an employer is obliged to sign an unlimited-
 term labor contract with any employee who has worked for the employer for ten consecutive years. Further, if an employee requests or
 agrees to renew a fixed-term labor contract that has already been entered into twice consecutively, the resulting contract must have an
 unlimited term, with certain exceptions. The employer must also pay severance to an employee in nearly all instances where a labor
 contract, including a contract with an unlimited term, is terminated or expires. In addition, the government has continued to introduce
 various new labor-related regulations after the Labor Contract Law. Among other things, new annual leave requirements mandate that
 annual leave ranging from five to 15 days is available to nearly all employees and further require that the employer compensate an
 employee for any annual leave day the employee is unable to take in the amount of three times the employee’s daily salary, subject to
 certain exceptions. We cannot assure you that our employment practices do not or will not violate the Labor Contract Law and other
 labor-related regulations. If we are subject to severe penalties or incur significant liabilities in connection with labor disputes or
 investigations, our business and results of operations may be adversely affected.

 Under the Social Insurance Law and the Administrative Measures on Housing Fund, employees are required to participate in pension
 insurance, work-related injury insurance, medical insurance, unemployment insurance, maternity insurance and housing funds and
 employers are required, together with their employees or separately, to pay the social insurance premiums and housing funds for their
 employees. These laws designed to enhance labor protection tend to increase our labor costs. In addition, as the interpretation and
 implementation of these regulations are still evolving, our employment practices may not be at all times be deemed in compliance with
 the regulations. As a result, we could be subject to penalties or incur significant liabilities in connection with labor disputes or
 investigations.


 Risks Related to Our ADSs
 The trading price for our ADSs has been and may continue to be volatile.
 The trading price of our ADSs has been and may continue to be subject to significant fluctuations. From January 1, 2016 to April 15,
 2017, the trading price of our ADSs on the New York Stock Exchange ranged from US$3.03 to US$5.35 per ADS, and the closing price
 on April 19, 2017 was US$3.60, per ADS. The trading price for our ADSs may continue to be volatile and subject to wide fluctuations
 in response to factors including the following:
        •    regulatory developments in our target markets affecting us, our customers or our competitors;

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        •    announcements of studies and reports relating to the quality of our services or those of our competitors;
        •    changes in the economic performance or market valuations of other companies that provide mobile security and management
             solutions;
        •    actual or anticipated fluctuations in our quarterly results of operations and changes or revisions of our expected results;
        •    changes in financial estimates by securities research analysts;
        •    conditions in the value-added telecommunication or internet services industries;
        •    announcements by us or our competitors of new services, acquisitions, strategic relationships, joint ventures or capital
             commitments;
        •    additions to or departures of our senior management;
        •    sales or perceived potential sales of additional shares or ADSs;
        •    negative publicity and allegations about our company, our products and services, our financial results or our market position;
             and
        •    market and volume fluctuations in the stock market in general.

 In addition, the stock market in general, and the market prices for companies with operations in China in particular have experienced
 volatility that might have been unrelated to the operating performance of such companies. The securities of some China-based
 companies that have listed their securities in the United States have experienced significant volatility since their initial public offerings,
 including, in some cases, substantial price declines in the trading prices of their securities. The trading performances of the securities of
 these China-based companies after their offerings may affect the attitudes of investors toward Chinese companies listed in the United
 States, which consequently may impact the trading performance of our ADSs, regardless of our actual operating performance. In
 addition, any negative news or perceptions about inadequate corporate governance practices or fraudulent accounting, corporate
 structure or other matters of other China-based companies, such as news of the SEC initiating administrative proceedings against and
 imposing sanctions on the China affiliates of the Big Four public accounting firms for refusing to produce audit work papers and other
 documents related to China-based companies under investigation by the SEC for potential accounting fraud, may also negatively affect
 the attitudes of investors towards China-based companies in general, including us, regardless of whether we have engaged in any
 inappropriate activities. The global financial crisis and the ensuing economic recessions in many countries have also contributed and
 may continue to contribute to extreme volatility in the global stock markets, such as the large decline in share prices in the United
 States, China and other jurisdictions in late 2008, early 2009 the second half of 2011, part of 2012, and since the beginning of 2016.
 These broad market and industry fluctuations may adversely affect the price of our ADSs, regardless of our operating performance.


 Because we do not expect to pay dividends in the foreseeable future, you must rely on price appreciation of our ADSs for return on
 your investment.
 We currently intend to retain most, if not all, of our available funds and any future earnings to fund the development and growth of our
 business. As a result, we do not expect to pay any cash dividends in the foreseeable future. Therefore, you should not rely on an
 investment in our ADSs as a source for any future dividend income.

 Our board of directors has discretion as to whether to distribute dividends, subject to our memorandum and articles of association and
 certain restrictions under Cayman Islands laws. Even if our board of directors decides to declare and pay dividends, the timing, amount
 and form of future dividends, if any, will depend on, among other things, our future results of operations and cash flow, our capital
 requirements and surplus, the amount of distributions, if any, received by us from our subsidiaries, our financial condition, contractual
 restrictions and other factors deemed relevant by our board of directors. Accordingly, the return on your investment in our ADSs will
 likely depend entirely upon any future price appreciation of our ADSs. There is no guarantee that our ADSs will appreciate in value or
 even maintain the price at which you purchased the ADSs. You may not realize a return on your investment in our ADSs and you may
 even lose your entire investment in our ADSs.

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 Telecommunications Networks Code Number Resources
 On January 23, 2014, the MII issued the amendment of Administrative Measures on Telecommunications Networks Code Number
 Resources to administer the code number resources including mobile communications network code number. According to the
 administrative measures, the entity shall apply to the MII for a code number to be used in the inter-provincial operations and shall apply
 to the relevant CAB for a separate code number for intra-provincial operations. The administrative measures specify the qualifications
 for a code number, required application materials and application procedures.


 Specifications for Telecommunications Services
 On March 13, 2005, the MII issued the Specifications for Telecommunications Services specifying the telecommunications service
 qualities to which all telecommunications mobile payment service providers in the PRC should conform, which was effective on
 April 20, 2005. It also requires all telecommunications services providers to establish a sound service quality management system and
 make periodical reports to the relevant telecommunications authorities.


 Foreign Investments in Value-Added Telecommunications Services Industry
 Foreign direct investment in telecommunications services industry in China is regulated under Regulations on the Administration of
 Foreign-Invested Telecommunications Enterprises, or the FITE Regulations. The FITE Regulations were issued by the State Council on
 December 11, 2001 and amended by the State Council on September 10, 2008 and February 6, 2016. According to the FITE
 Regulations, foreign investors’ ultimate equity interests in any entity providing value-added telecommunications services in the PRC
 may not exceed 50%. A foreign investor must demonstrate a good track record and prior experience in providing value-added
 telecommunications services outside the PRC prior to acquiring any equity interest in any value-added telecommunications services
 business in the PRC.

 On July 13, 2006, the MII issued the Notice Regarding Strengthening the Administration of Foreign Investment in Operating Value-
 Added Telecommunications Businesses, or the MII Notice, which prohibits value-added telecommunications services operation license
 holders, including Trans-regional Value-Added Telecommunications Services Operation License and Telecommunications Value-Added
 Services Operation License holders, from leasing, transferring or selling their licenses to any foreign investors in any manner, or
 providing any resources, premises or facilities to any foreign investors for illegal operation of telecommunications services business in
 the PRC. The MII Notice also requires that, (1) value-added telecommunications services operation license holders or their shareholders
 must directly own the domain names and trademarks used by such license holders in their daily operations; (2) each license holder must
 have necessary facilities for its approved business operations and maintain such facilities in the regions specified by its license; and
 (3) all value-added telecommunications mobile payment service providers are required to maintain network and internet security in
 accordance with the standards set forth in relevant PRC regulations. If a license holder fails to comply with the requirements in the MII
 Notice and fails to remedy such non-compliance within a designated period, the MIIT or relevant CABs may take administrative actions
 against such license holder, including revocation of their valued-added telecommunications services operation licenses. We provide our
 services through our controlled affiliated entity that own Value-Added Telecommunications Services Operation Licenses. We believe
 our controlled affiliated entity is in compliance with the MII Notice.

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 The MOFCOM published a discussion draft of the proposed Foreign Investment Law (the “Draft”) in January 2015 aiming to, upon its
 enactment, replace the trio of existing laws regulating foreign investment in China. The Draft embodies an expected PRC regulatory
 trend to rationalize its foreign investment regulatory regime in line with prevailing international practice and the legislative efforts to
 unify the corporate legal requirements for both foreign and domestic investments. The MOFCOM is currently soliciting comments on
 the Draft and substantial uncertainties exist with respect to its enactment timetable, interpretation and implementation. The Draft, if
 enacted as proposed, may materially impact the viability of our current corporate structure, corporate governance and business
 operations. The Draft expands the definition of foreign investment and introduces the principle of “actual control” in determining
 whether a company is considered as an FIE. Under the Draft, the entities established in China but “controlled” by foreign investors will
 be treated as FIEs, whereas an entity set up in a foreign jurisdiction would nonetheless be, upon market entry clearance by the
 MOFCOM, treated as a PRC domestic investor provided that the entity is “controlled” by PRC entities and/or citizens. In this
 connection, “control” is broadly defined in the draft law to cover the following summarized categories: (i) holding, directly or indirectly,
 not less than 50% of shares, equities, share of properties, voting rights or other similar rights of the enterprise; (ii) holding, directly or
 indirectly, less than 50% of shares, equities, share of properties, voting rights or other similar rights of the enterprise, but falling under
 any of the following circumstances: (1) having the right to directly or indirectly appoint not less than half of the members of the board of
 directors or other similar decision-making body of the enterprise; (2) having the ability to ensure that its nominees occupy not less than
 half of seats in the board of directors or other similar decision-making body of the enterprise; or (3) holding voting rights sufficient to
 impose significant impacts on any resolution of the board of shareholders, at the general meeting of shareholders, or of the board of
 directors or other decision-making body of the enterprise; or (iii) having the power to exert decisive influence, via contractual or trust
 arrangements, over the subject entity’s operations, financial matters or other key aspects of business operations. Once an entity is
 determined to be an FIE, it will be subject to the foreign investment restrictions or prohibitions set forth in a “negative list,” to be
 separately issued by the State Council later, if the FIE is engaged in the industry listed in the negative list. Unless the underlying
 business of the FIE falls within the negative list, which calls for market entry clearance by the MOFCOM, prior approval from the
 government authorities as mandated by the existing foreign investment legal regime would no longer be required for establishment of
 the FIE.

 Under the Draft, variable interest entities that are controlled via contractual arrangement would also be deemed as FIEs, if they are
 ultimately “controlled” by foreign investors. Therefore, for any companies with a VIE structure in an industry category that is on the
 “negative list,” the VIE structure may be deemed legitimate only if the ultimate controlling person(s) is/are of PRC nationality (either
 PRC companies or PRC citizens). Conversely, if the actual controlling person(s) is/are of foreign nationalities, then the variable interest
 entities will be treated as FIEs and any operation in the industry category on the “negative list” without market entry clearance may be
 considered as illegal. Moreover, for the enterprises which are not incorporated under the laws of China (foreign investors) but are
 “controlled” by Chinese investors, they may submit documentary evidence to apply for identifying their investment as the investment by
 Chinese investors when they applying for the market entry clearance to engage in any investment as set out in the “negative list” in
 China. The competent authorities of foreign investment will grant the review opinion on whether the said investment is identified as the
 investment by Chinese investors.


 Regulations Concerning Internet and Mobile Businesses
 Online Music and Entertainment
 On November 20, 2006, the MOC issued Several Suggestions of the MOC on the Development and Administration of Internet Music, or
 the Suggestions, which became effective on the same date. The Suggestions, among other things, reiterate the requirement for an
 internet service provider to obtain an internet culture operation license to carry out any business relating to internet music products. In
 addition, foreign investors are prohibited from operating internet culture businesses. However, the laws and regulations on internet
 music products are still evolving, and there have not been any provisions clarifying whether music products will be regulated by the
 Suggestions or how such regulation would be carried out.

 On August 18, 2009, the MOC promulgated the Notice on Strengthening and Improving the Content Review of Online Music, or the
 Online Music Notice. According to the Online Music Notice, only “internet culture operating entities” approved by the MOC may
 engage in the production, release, dissemination (including providing direct links to music products) and importation of online music


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 products. The content of online music shall be reviewed by or filed with the MOC. Internet culture operating entities should establish a
 strict self-monitoring system of online music content and set up a special department in charge of such monitoring.

 In 2011, the MOC greatly intensified its regulation of the provision of online music products. According to the series of Notices on
 Clearing Online Music Products that are in Violation of Relevant Regulations promulgated by the MOC since January 7, 2011, entities
 that provide any the following will be subject to relevant penalties or sanctions imposed by the MOC: (a) online music products or
 relevant services without obtaining corresponding qualifications, (b) imported online music products that have not passed the content
 review of the MOC or (c) domestically developed online music products that have not been filed with the MOC. Thus far, we believe
 that we have eliminated from our platform any online music products that may fall into the scope of those prohibited online music
 products thereunder.

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 Regulations Relating to Dividend Withholding Tax
 The EIT Law imposes a withholding tax of 10% on dividends distributed by a foreign-invested enterprise to its immediate holding
 company outside China, if such immediate holding company is considered a “non-resident enterprise” without any establishment or
 place within China or if the received dividends have no connection with the establishment or place of such immediate holding company
 within China, unless such immediate holding company’s jurisdiction of incorporation has a tax treaty with China that provides for a
 different withholding arrangement. Holding companies in Hong Kong, for example, are subject to a 5% withholding tax rate.

 In August 2015, the State Administration of Taxation promulgated the Administrative Measures for Non-Resident Taxpayers to Enjoy
 Treatments under Tax Treaties, or Circular 60, which became effective on November 1, 2015. Circular 60 provides that non-resident
 enterprises are not required to obtain pre-approval from the relevant tax authority in order to enjoy the reduced withholding tax rate.
 Instead, non-resident enterprises and their withholding agents may, by self-assessment and on confirmation that the prescribed criteria to
 enjoy the tax treaty benefits are met, directly apply the reduced withholding tax rate, and file necessary forms and supporting documents
 when performing tax filings, which will be subject to post-tax filing examinations by the relevant tax authorities. Accordingly, our Hong
 Kong subsidiary may be able to enjoy the 5% withholding tax rate for the dividends they receive from our PRC subsidiary, if it satisfies
 the conditions prescribed under Circular 81 and other relevant tax rules and regulations. However, according to Circular 81 and Circular
 60, if the relevant tax authorities consider the transactions or arrangements we have are for the primary purpose of enjoying a favorable
 tax treatment, the relevant tax authorities may adjust the favorable withholding tax in the future.


 Labor Protection
 Pursuant to the Employment Contracts Law of the People’s Republic of China, or ECL, promulgated by the Standing Committee of the
 National People’s Congress on June 29, 2007 and became effective on January 1, 2008 and the Implementing Regulations of the PRC
 Employment Contracts Law promulgated and effective on September 18, 2008, an employer establishes an employment relationship
 with an employee from the date when the employee is put to work, and a written employment contract shall be entered into on this same
 day. If an employment relationship has already been established with an employee but no written employment contract has been entered
 into simultaneously, a written employment contract shall be entered into within one month from the date the employee commences
 work. If an employer fails to enter into a written employment contract with an employee for more than one month but less than one year
 as of the date on which the employment commences, it shall pay the employee twice his/her salary for each month of that period and
 rectify the situation by subsequently entering into a written employment contract with the employee. If the employee refuses to enter
 into the written contract with the employer, the employer shall issue a written notice to the employee to rescind the employment
 relationship, and pay severance to the employee in accordance with relevant provisions of the ECL.


 C.    Organizational Structure
 As of April 15, 2017, we mainly operate our business through the following significant subsidiaries and consolidated affiliated entities:
        •    Beijing NQ Technology Co., Ltd., or Beijing Technology, our consolidated affiliated entity in the PRC;
        •    NQ Mobile (Beijing) Co., Ltd., or NQ Beijing, our wholly owned subsidiary in the PRC;
        •    NQ (Beijing) Co., Ltd., or NQ Tongzhou, our wholly owned subsidiary in the PRC;
        •    NQ International Limited, our wholly owned subsidiary in Hong Kong;
        •    Beijing NQ Mobile Co., Ltd., or NQ Yizhuang, our wholly owned subsidiary in the PRC;
        •    Xinjiang NQ Mobile Venture Capital Investment Co., Ltd., or Xinjiang NQ, a wholly owned subsidiary of Beijing
             Technology in the PRC.

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                      Equity interest.
                      Contractual arrangements including exclusive technical consulting services agreement, exclusive business
                      cooperation agreement, business operation agreements, powers of attorney, equity disposition agreements, loan
                      agreements and equity interest pledge agreements.
 (1)                  The shareholders of Beijing Technology are Dr. Vincent Wenyong Shi, our founder, chief operating officer and
                      chairman of the board, Ms. Lingyun Guo, our chief strategy officer and director, and Mr. Xu Zhou, our founder,
                      holding 14.75%, 52.00% and 33.25% of Beijing Technology’s equity interests, respectively. Dr. Shi, Ms. Guo and
                      Mr. Zhou also collectively own RPL, which holds 10.3% of common shares and 53.5% of voting power in our
                      Company.


 D.    Property, Plants and Equipment
 Our principal executive office and headquarter in Beijing is located on premises comprising approximately 6115square meters at 11
 Heping Li East Street, Dongcheng District, Beijing, China, which we lease from an unrelated third party. We plan to renew our lease
 when it expires. The premises are shared by NQ Beijing, Beijing Technology and some subsidiary companies. The lessor of the leased
 premises in Beijing has valid title to the property. We believe that our existing facilities are adequate for our current and foreseeable
 requirements.

 We also lease an aggregate of approximately 9,979 square meters of office space in Beijing, Tianjin, Shanghai, Shenzhen, Taipei, Hong
 Kong, Gyeonggi-do and Texas all from unrelated third parties.

 We made capital expenditures of US$3.7 million, US$0.5 million and US$0.7million, for the years ended December 31, 2014, 2015 and

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                                                          NQ MOBILE INC.
                                    NOTES TO CONSOLIDATED FINANCIAL STATEMENTS
                 (All numbers in the following Notes are expressed in thousands, except for share and per share data)

 1. PRINCIPAL ACTIVITIES AND ORGANIZATION
 (a) Principal activities
       NQ Mobile Inc. (“NQ Mobile”, or the “Company”), through its subsidiaries, its variable interest entity (“VIE”), and the VIE’s
 subsidiaries, is principally engaged in the provision of mobile Internet services in the People’s Republic of China (the “PRC” or
 “China”) and overseas markets. NQ Mobile’s service portfolio includes mobile security, productivity and privacy protection, mobile
 games as well as related applications (e.g. live mobile social video platform, vlife wallpaper, music radar, healthcare, themed-wallpaper
 and desktop applications etc.) and advertising for the consumer market and an entire mobility solution set for the enterprise market. The
 Company, its wholly-owned and majority-owned subsidiaries, VIE and wholly-owned subsidiaries of the VIE are hereinafter
 collectively referred to as the “Group”.


 (b) Reorganization and FL Mobile and Showself Transaction
       The Company was incorporated as a limited liability company under the laws of the Cayman Islands on March 14, 2007. The
 Company was 100% owned by RPL Holdings Limited (“RPL”). RPL is a limited liability company organized under the laws of British
 Virgin Islands (“BVI”), which was owned and controlled by Dr. Henry Yu Lin, Dr. Vincent Wenyong Shi, and Mr. Xu Zhou
 (collectively, the “Founders”). In 2015, one of the shareholders changed from Dr. Henry Yu Lin to Ms. Lingyun Guo. The others remain
 the same. Therefore, the shareholders become Ms. Lingyun Guo, Dr. Vincent Wenyong Shi, and Mr. Xu Zhou (collectively, the
 Controlling Shareholders).

      In May 2007, the Company established NQ Mobile (Beijing) Co., Ltd. (“NQ Beijing” or “NQ WFOE”) as a wholly foreign-owned
 enterprise in the PRC. In June 2007, the Company undertook a reorganization (the “Reorganization”) to become the ultimate holding
 company of the Group. Prior to the Reorganization, the Group’s business was operated by Beijing NQ Technology Co. Ltd. (“Beijing
 Technology”), a company wholly owned and controlled by the Controlling Shareholders, which commenced operations on October 21,
 2005. By entering into a series of agreements (collectively, “NQ VIE Agreements”) with the Controlling Shareholders and NQ Beijing,
 Beijing Technology became a variable interest entity whose primary beneficiary is NQ Beijing. Consequently, the Company as the
 parent of NQ Beijing became the ultimate primary beneficiary of Beijing Technology and has consolidated financial statements of
 Beijing Technology and its subsidiaries. Beijing Technology was the predecessor of the Group and operated all of the business of the
 Group prior to the Reorganization.

       From 2012 to 2016, the Group established several subsidiaries and consolidated affiliated entities to support their expansion,
 including NQ (Beijing) Co., Ltd. (“NQ Tongzhou”) in January 2013, Beijing NQ Mobile Co., Ltd. (“NQ Yizhuang”) in September 2014,
 NQ Technology (Guizhou) Co., Ltd. (“NQ Guizhou”) in December 2015, Showself (Beijing) Technology Co., Ltd. (“Showself
 (Beijing)”) in July 2015, Xinjiang NQ Mobile Venture Capital Investment Co., Ltd. (“Xinjiang NQ”) in February 2016. During the same
 period, the Group also acquired companies including NationSky through Beijing Technology (“Nation Sky”), Beijing Fanyue
 Information Technology Co., Ltd. (“Fanyue”), Beijing Tianya Co., Ltd. (“Tianya”), Best Partners Ltd. (“Best Partners”), Beijing Trustek
 Technology Co., Ltd. (“Beijing Trustek”), Beijing Showself Technology Co., Ltd.(“Beijing Showself”), Linkmotion Holdings Ltd.
 (“Linkmotion”), Shanghai Launcher Software Technology Co., Ltd. (“Launcher ”) and Glory Team Ltd. (“Glory”). Beijing Showself
 was reorganized as a wholly owned subsidiary of Showself (Beijing) in June 2016.

      During 2010 and 2012, the Group acquired 100% of the equity interests in FL Mobile Jiutian Technology Co., Ltd. (“FL Mobile”).
 Following subsequent reorganization in 2014, FL Mobile became one of the Group’s consolidated affiliated entities and controlled by
 the Group through contractual arrangements.

      In August 2015, the Group entered into a framework agreement (the “FL Framework Agreement”) with Beijing Jinxin Rongda
 Investment Management Co. Ltd. (“Beijing Jinxin”), a subsidiary of Tsinghua Holdings Co., Ltd., to begin the divestment of the FL

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 Mobile business (“FL Mobile Divestment”). In connection with the FL Mobile Divestment, FL Mobile was reorganized as a subsidiary
 of Xinjiang NQ in March 2016.

       The Group has discussed the FL Mobile Divestment with several potential purchasers since 2015, including Gansu Huangtai Wine-
 Marketing Industry Co., Ltd. and Shenzhen Prince New Materials Co., Ltd., both listed on the Shenzhen Stock Exchange, and private
 equity investment fund. These three transactions, however, did not come to fruition due to various reasons, including ongoing changes in
 the capital market conditions and uncertainty surrounding relevant policies in China.

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       As part of FL Mobile Divestment, (i) the Group sold 22% of equity interests in FL Mobile to Dr. Vincent Wenyong Shi, the
 Company’s chairman and chief operating officer, for a consideration of RMB880 million (US$127million) via a termination and share
 purchase agreement in March 2016, however, 5.66% of the equity interests transferred was reverted in November 2016, as both the
 Company and Dr. Vincent Wenyong Shi have the right to revert the transaction entirely, such consideration was recorded as
 consideration received from shareholder on the balance sheet as of December 31, 2016, (ii) the Group sold 12% of equity interests in FL
 Mobile to Xinjiang Yinghe Equity Investment Management Limited Partnership (“Xinjiang Yinghe”), an affiliate of the management of
 FL Mobile, however, such transaction was terminated and reverted in November 2016, (iii) the Group sold a total of 20.66% of equity
 interests in FL Mobile to several affiliates of Beijing Jinxin in May 2016 and August 2016.

       In March 2017, the Group entered into definitive agreements (the “Agreements”) with Tongfang Investment Fund Series SPC (the
 “Investor”), affiliate private equity investment fund of Tsinghua Tongfang. Pursuant to the terms of the Agreements, the Investor will
 acquire (i) 63% equity interests in FL Mobile, being all of the equity interests beneficially owned by the Company, for a cash
 consideration of RMB2,520 million and (ii) 65% equity interests in Showself (Beijing) Technology Co., Ltd (“Showself (Beijing)”), a
 live social video business, being all of the equity interests beneficially owned by the Company, for a cash consideration of RMB
 800 million. The Investor had paid RMB150 million in cash as the non-refundable earnest money which will be counted towards the
 payment of the purchase price. The Investor will pay the remaining amount of the total consideration on or before May 31, 2017 after
 the Company delivers all of its equity interests in FL Mobile and Showself (Beijing). The consummation of the Transactions is subject
 to customary closing conditions (see Note 24(b)).

      The Company has transferred their equity interests in FL Mobile and Showself (Beijing) to these purchasers pursuant to their
 contracts with them, and are in the process to collect remaining purchase price and close the whole FL Mobile and Showself (Beijing)
 Divestment. In addition to purchasing FL Mobile and Showself (Beijing), the affiliate private equity fund of Tsinghua Tongfang also has
 the option to purchase US$100 million worth of Class A Common shares of the Company at a price of US$1.05 per share, or US$5.25
 per ADS within 3 months after the date of the full payment pursuant to the agreements to purchase FL Mobile.


 (c) Divestment of NationSky
      On November 26, 2015, the Group entered an agreement with former member of management of Beijing NationSky Network
 Technology Co., Ltd (“NationSky”) and a third party to divest 100% of the equity interests of NationSky with cash consideration of
 RMB510,000. On December 30, 2015, the transaction was closed with all consideration received by the Group, and the registration with
 Industrial and Commercial Registration had been completed.

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 (d) Subsidiaries, VIE and VIE’s subsidiaries
       As of December 31, 2016, details of the Company’s major subsidiaries***, VIE and the VIE’s subsidiaries are as follows.

                                             Date of
                                          Incorporation        Place of
 Name                                     or Acquisition    Incorporation               Relationship                         Principal Activities
 Subsidiaries
 NQ International Limited               April 26, 2010      Hong Kong       Wholly-owned subsidiary                Consumer mobile security services in
 (“NQ HK”) *                                                                                                       overseas markets
 NQ Mobile US Inc. (“NQ US”)**          November 5, 2010    United States   Wholly-owned subsidiary                Consumer mobile value added services
                                                                                                                   and advertising services in US and
                                                                                                                   overseas markets.
 NQ Mobile (Beijing) Co., Ltd. (“NQ     May 15, 2007        The PRC         Wholly-owned subsidiary                Consumer mobile security services in
 Beijing” or “NQ WFOE”)                                                                                            PRC and overseas markets, and
                                                                                                                   technology consulting and services
 NQ (Beijing) Co., Ltd. (“NQ            January 5, 2013     The PRC         Wholly-owned subsidiary                Software design and development for
 Tongzhou”)                                                                                                        computer and mobile devices and other
                                                                                                                   technology consulting services
 Best Partners Ltd. (“Best Partners”)   September 6, 2013  Cayman           Wholly-owned subsidiary of FL Mobile   Mobile advertising services
                                                           Islands          Inc.
 Beijing NQ Mobile Co., Ltd. (“NQ       September 29, 2014 The PRC          Wholly-owned subsidiary                Consumer mobile security services in
 Yizhuang”)                                                                                                        PRC and overseas markets, and
                                                                                                                   technology consulting and services
 FL Mobile Inc.                         January 21, 2013    Cayman          Wholly-owned subsidiary                Mobile advertising and mobile games
                                                            Islands                                                services
 Linkmotion Holdings Ltd.               June 15, 2015       Cayman          67%-owned subsidiary                   Optimization of software and hardware
 (“Linkmotion”)                                             Islands                                                in vehicle platform
 Variable Interest Entities
 Beijing Technology                     October 21, 2005    The PRC         VIE of NQ Beijing                      Consumer mobile security services in
                                                                                                                   PRC market and research and
                                                                                                                   development
 Subsidiaries of VIE
 Qingyun (Tianjin) Financial            February 21, 2012   The PRC         Wholly-owned subsidiary of Beijing     Financial management services
 Management Co., Ltd. (“Tianjin                                             Technology
 Qingyun”)
 FL Mobile                              November 30, 2012 The PRC           63%-owned subsidiary of Xinjiang NQ    Mobile games and advertising
 Beijing Fanyue Information             March 21, 2013    The PRC           Wholly-owned subsidiary of FL Mobile   Off-line user acquisition services
 Technology Co., Ltd. (“Fanyue”)
 FL Mobile (Beijing) Co., Ltd. (“FL     June 3, 2013        The PRC         Wholly-owned subsidiary of FL Mobile   Mobile advertising and mobile games
 Beijing”)                                                                  Hong Kong Limited                      services
 Beijing Wanpu Century Co., Ltd.        September 6, 2013   The PRC         Wholly-owned subsidiary of FL Mobile   Advertising services based on mobile
 (“Wanpu Century”)                                                                                                 internet platform in the PRC
 Beijing Tianya Co., Ltd. (“Tianya”)    September 24, 2013 The PRC          Wholly-owned subsidiary of Beijing     Mobile healthcare application
                                                                            Technology                             developments and search engine
                                                                                                                   marketing in healthcare industry
 Chengdu Ruifeng Technology Co.,        October 15, 2013    The PRC         Wholly-owned subsidiary of Beijing     Enterprise mobility system development
 Ltd. (“Ruifeng”)                                                           Technology                             and iOS training program
 Shanghai Yinlong Information           November 11, 2013 The PRC           Wholly-owned subsidiary of Beijing     Mobile music search, matching and
 Technology Co., Ltd. (“Yinlong”)                                           Technology                             recognition software services
 Beijing Trustek Technology Co., Ltd.   January 10, 2014    The PRC         Wholly-owned subsidiary of Xinjiang    Enterprise mobility solutions and
 (“Beijing Trustek”)                                                        NQ                                     services
 Tianjin Huayong Wireless Technology    January 31, 2014    The PRC         68%-owned subsidiary of Beijing        Research and development of live
 Co., Ltd. (“Huayong”)                                                      Technology                             wallpapers
 Showself (Beijing) Technology Co.,     May 15, 2014        The PRC         65%-owned subsidiary of Beijing        Development and operation of live
 Ltd. (“Showself”)                                                          Technology                             mobile social video platform
 Glory Team Ltd. (“Glory”)              October 1, 2015     Seychelles      Wholly-owned subsidiary of FL Mobile   Mobile games distribution
                                                                            Hong Kong Limited
 Beijing Century Hetu Software        October 1, 2015       The PRC         Wholly-owned subsidiary of FL Mobile   Mobile games design and development
 Technology Co., Ltd. (“Hetu”)
 Shanghai Launcher Technology Co.,    February 29, 2016     The PRC         51%-owned subsidiary of Beijing        Mobile desktop
 Ltd. (“Launcher”)                                                          Technology
 Xinjiang NQ Mobile Venture Capital January 28, 2016        The PRC         Wholly-owned subsidiary of Beijing     Financial management services
 Investment Co., Ltd. (“Xinjiang NQ”)                                       Technology



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 *   NetQin International Limited was renamed to NQ International Limited on August 1, 2012.
 ** NetQin US Inc. was renamed to NQ Mobile US Inc. on December 14, 2011.
 *** Other consolidated entities of the Company have been omitted from this list since, considered in an aggregate as one single entity,
     they would not constitute a significant subsidiary.

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 (e) Variable Interest Entity
 Basic Information
       PRC laws and regulations prohibit or restrict foreign ownership of companies from providing mobile value added services, mobile
 games and mobile advertising in the PRC where certain licenses are required for the provision of such services. To comply with these
 PRC laws and regulations, the Company provides services subject to such restrictions through the VIE and its subsidiaries in China. To
 provide the Company with the expected residual returns of the VIE and their subsidiaries, the Group entered into a series of contractual
 arrangements, such as power of attorney and exclusive equity purchase option agreement with the VIE and the shareholders of the VIE
 to enable the Company, through the Group’s subsidiaries (“Primary Beneficiaries”), which give the Primary Beneficiaries the rights to
 direct the activities that most significantly affect the economic performance of the VIE and to acquire the equity interests in the VIE
 when permitted by the PRC laws, respectively to:
        •    exercise effective control over the VIE;
        •    receive substantially all of the economic benefits and residual returns, and absorb substantially all the risks of expected losses
             from the VIE as if they were their sole shareholders; and
        •    have an exclusive option to purchase all of the equity interests in the VIE.

      The Group has adopted the guidance of accounting for VIE, which requires certain VIE to be consolidated by the primary
 beneficiary of the entities. The Group’s management evaluated the relationships among the Company, NQ Beijing and Beijing
 Technology, and the economic benefits flow of the applicable contractual arrangements. The Group concluded that NQ Beijing is the
 primary beneficiary of Beijing Technology. As a result, the results of operations, assets and liabilities of Beijing Technology and its
 subsidiaries have been included in the Company’s consolidated financial statements.

       Exclusive Technical Consulting Services Agreement between NQ Beijing and Beijing Technology. Under the exclusive technical
 consulting services agreement, NQ Beijing has the exclusive right to provide to Beijing Technology the technical consulting services
 related to Beijing Technology’s business operation. NQ Beijing owns the intellectual property rights developed by either NQ Beijing or
 Beijing Technology in the performance of this agreement. Beijing Technology pays to NQ Beijing quarterly service fees, determined
 unilaterally by NQ Beijing due to its control over Beijing Technology. The amount of service fees to be charged to Beijing Technology
 are determined at the sole discretion of NQ Beijing by considering, among others, the technical complexity of the services, the actual
 costs that may be incurred for providing the services, and the operations of Beijing Technology. As of December 31, 2016, the retained
 earnings in Beijing Technology was US$30,978 after being charged the service fees by NQ Beijing. The service fees are eliminated
 upon consolidation. This agreement is effective until NQ Beijing ceases to exist or is terminated at NQ Beijing’s sole discretion by
 giving 30 day’s advanced notice to Beijing Technology.

       Business Operation Agreements between NQ Beijing and the shareholders of Beijing Technology. Under the business operation
 agreements, the registered shareholders of the VIE may not enter into any transactions that could materially affect the assets, liabilities,
 interests or operations of the VIE, without prior written consent from NQ Beijing. In addition, the shareholders of the VIE irrevocably
 appointed NQ Beijing, to vote on their behalf on all matters, including matters relating to the transfer of any or all of their respective
 equity interests in the VIE and appointments of the directors, chief executive officer, chief financial officer, and other senior
 management of the VIE. Each of these agreements will remain in effect till the date when NQ Beijing is dissolved, and can be
 terminated at the sole discretion of NQ Beijing.

       Powers of Attorney executed by the shareholders of Beijing Technology in favor of NQ Beijing. Each of these powers of attorney
 irrevocably authorizes NQ Beijing, to vote on behalf of the registered shareholders of the VIE on matters stipulated by laws and the
 Article of Association of the VIE. The Powers of Attorney shall remain effective from the date it is signed to the date when NQ Beijing
 is dissolved in accordance with the laws of the People’s Republic of China, unless the Business Operations Agreement for the VIE is
 terminated in advance.

       Equity Disposition Agreements between NQ Beijing and the shareholders of Beijing Technology. The equity disposition


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 agreements irrevocably granted to NQ Beijing, or their designated parties, an exclusive option to purchase, to the extent permitted by the
 PRC law, any part or all of the equity interests in the VIE from the registered shareholders. The exercise price for the options to
 purchase the equity interests is the minimum amount of consideration permissible under PRC law. The options are exercisable at any
 time at the sole discretion of NQ Beijing, during the term of agreements. Each of the registered shareholders agrees not to transfer,
 pledge or dispose of its equity interests in the VIE in any way before NQ Beijing exercise their options in full or deliver the written
 approval. Each agreement has a term of 10 years and renewable on the same terms at the sole discretion of NQ Beijing.

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       Loan Agreements and Amended Loan Agreements between NQ Beijing and the shareholders of Beijing Technology and between
 the Company and the shareholders of Beijing Technology. Under these agreements, an aggregate of interest-free loans of RMB46,123
 from NQ Beijing and 6% interest loan of US$250 from the Company were extended to the registered shareholders of Beijing
 Technology for sole purpose of contributing the registered capital to Beijing Technology in exchange for 100% of the equity interest in
 Beijing Technology. Without the prior consent of the Company and NQ Beijing, the registered shareholders of Beijing Technology
 cannot approve any transaction including merger, acquisition, new investments and etc., significantly affecting the registered
 shareholders’ rights of Beijing Technology. The loans have original terms of 10 years and are repayable if the Company and NQ Beijing
 decide to exercise their exclusive purchase option under Equity Disposition Agreements. The amendments requires that the loans can be
 settled fully only by the shareholders transferring the equity interests of Beijing Technology according to Equity Disposition
 Agreements to the Company and NQ Beijing.

      Equity Interest Pledge Agreements between NQ Beijing and the shareholders of Beijing Technology. Under the equity interest
 pledge agreements, the registered shareholders of the VIE pledged all of their respective equity interests in the VIE to secure the VIE’s
 obligations under the relevant Exclusive Technical Consulting Services Agreement, Exclusive Business Cooperation Agreements,
 Business Operation Agreements and Equity Disposition Agreements described above. Each shareholder agrees not to sell, mortgage or
 dispose of any of the VIE’s equity interest it holds without prior written consent from NQ Beijing. These agreements are terminable only
 when the VIE’s obligations under the other agreements are fully settled.

       Amended and Restated Business Operation Agreement, Amended and Restated Equity Interest Pledge Agreement and Amended
 and Restated Equity Disposition Agreement between NQ Beijing and shareholders of Beijing Technology, entered into on June 6, 2012,
 reflected the increase of the registration capital of Beijing Technology from RMB10 million to RMB50 million. All the other terms
 remain the same as the original agreements.

       Amended and Restated Business Operation Agreement, Amended and Restated Equity Interest Pledge Agreement and Amended
 and Restated Equity Disposition Agreement between NQ Beijing and shareholders of Beijing Technology, entered into on November 17,
 2015, reflected the shareholder of Beijing Technology change from Dr. Henry Yu Lin to Ms. Lingyun Guo. All the other terms remain
 the same as the original agreements.

       Risks in Relation to the VIE Structure
       The Ministry of Commerce of PRC (“MOC”) published a discussion draft of the proposed Foreign Investment Law (the “Draft”)
 in January 2015 aiming to, upon its enactment, replace the trio of existing laws regulating foreign investment in China. The Draft
 embodies an expected PRC regulatory trend to rationalize its foreign investment regulatory regime in line with prevailing international
 practice and the legislative efforts to unify the corporate legal requirements for both foreign and domestic investments. The MOC is
 currently soliciting comments on the Draft and substantial uncertainties exist with respect to its enactment timetable, interpretation and
 implementation. The Draft, if enacted as proposed, may materially impact the viability of current corporate structure, corporate
 governance and business operations. The Draft expands the definition of foreign investment and introduces the principle of “actual
 control” in determining whether a company is considered a VIE.

       Under the Draft, variable interest entities that are controlled via contractual arrangement would be deemed as VIEs, if they are
 ultimately “controlled” by foreign investors. Therefore, for any companies with a VIE structure in an industry category that is on the
 “negative list”, the VIE structure may be deemed legitimate only if the ultimate controlling person(s) is/are of PRC nationality (either
 PRC companies or PRC citizens). Conversely, if the actual controlling person(s) is/are of foreign nationalities, then the variable interest
 entities will be treated as VIEs and any operation in the industry category on the “negative list” without market entry clearance may be
 considered as illegal. Moreover, for the enterprises which are not incorporated under the laws of China (foreign investors) but are
 “controlled” by Chinese investors, they may submit documentary evidence to apply for identifying their investment as the investment by
 Chinese investors when they applying for the market entry clearance to engage in any investment as set out in the “negative list” in
 China. The competent authorities of foreign investment will grant the review opinion on whether the said investment is identified as the
 investment by Chinese investors.

       In conclusion, if the Draft enacted as proposed, it is possible that the Company’s conduct of certain of its operations and businesses


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 through the VIE could be found by PRC authorities to be in violation of PRC laws and regulations prohibiting or restricting foreign
 ownership of companies that engage in such operations and businesses. If such a finding were made, regulatory authorities with
 jurisdiction over the licensing and operation of such businesses would have broad discretion in dealing with such a violation, including
 levying fines, confiscating the Company’s income, revoking the business or operating licenses of the affected businesses, requiring the
 Company to restructure its ownership structure or operations, or requiring the Company to discontinue all or any portion of its
 operations. Any of these actions could cause significant disruption to the Company’s business operations, and have a material adverse
 impact on the Company’s cash flows, financial position and operating performance. The Company’s management considers the
 possibility of such a finding by PRC regulatory authorities to be remote.

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       In addition, it is possible that the VIE Agreements would not be enforceable in China if PRC government authorities or courts
 were to find that such agreements contravene PRC laws and regulations or are otherwise not enforceable for public policy reasons. In
 the event that the Company is unable to enforce any of these agreements, the Company would not be able to exert effective control over
 the affected VIE and consequently, the results of operations, assets and liabilities of the affected VIE and its subsidiaries would not be
 included in the Company’s consolidated financial statements. If such were the case, the Company’s cash flows, financial position and
 operating performance would be materially adversely affected. The Company’s agreements with respect to its consolidated VIE are
 approved and in place. The Company’s management believes that such agreements are enforceable, and considers it a remote possibility
 that PRC regulatory authorities with jurisdiction over the Company’s operations and contractual relationships would find the agreements
 to be unenforceable under existing laws.


 Financial Information of VIE
       The financial information of Beijing Technology and its subsidiaries were presented in aggregate as follows, which were included
 in the accompanying consolidated financial statements:

                                                                                                        As of December 31,
                                                                                                        2015        2016
                                                                                                        US$          US$
                  Cash and cash equivalents                                                          103,794        59,632
                  Term deposits                                                                       66,296       124,117
                  Restricted cash                                                                      1,640           —
                  Other intercompany receivable to WOFEs                                                 608        51,354
                  Other intercompany receivable                                                            3        23,967
                  Total current assets                                                               287,997       426,428
                  Total non-current assets                                                           362,919       333,049
                  Total assets                                                                       650,916       759,477
                  Intercompany payable to WOFEs for the service fees                                  20,139        19,062
                  Other intercompany payable to WOFEs                                                 39,089        17,005
                  Other intercompany payable                                                         185,551       222,050
                  Total current liabilities                                                          312,523       386,174
                  Deferred tax liabilities, non-current                                                6,840         3,976
                  Total liabilities                                                                  319,363       390,150

                                                                                              For the Years Ended December 31,
                                                                                               2014          2015      2016
                                                                                               US$           US$        US$
             Total net revenues                                                               275,372      377,506      335,760
             Net income/(loss)                                                                 18,751       36,136      (11,828)

                                                                                              For the Years Ended December 31,
                                                                                               2014         2015       2016
                                                                                               US$          US$         US$
             Net cash provided by/(used in) operating activities                              30,094        30,287      (89,032)
             Net cash (used in)/provided by investing activities                              (9,415)       45,017       41,665
             Net cash provided by financing activities                                           —             —            603
             Effect of exchange rate changes on cash and cash equivalents                     (2,643)       (1,018)       2,602
             Net increase/(decrease) in cash and cash equivalents balance                     18,036        74,286      (44,162)

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       The VIE contributed an aggregate of 83%, 93% and 98% of the consolidated revenues for the years ended December 31, 2014,
 2015 and 2016, respectively. As of December 31, 2015 and 2016, the VIE, without the recourse to the Company, accounted for an
 aggregate of 81% and 80%, respectively, of the consolidated total assets, and 26% and 35%, respectively, of the consolidated total
 liabilities. The consolidated assets of VIE mainly comprised of recognized and unrecognized revenue-producing assets. The recognized
 revenue-producing assets include goodwill and intangible assets acquired through business acquisitions, purchased servers and office
 facilities. The balances of these assets as of December 31, 2015 and 2016 were included in the line of “Total non-current assets” in the
 table above.

       Goodwill primarily represents the expected synergies from combining the acquired business with the business of the Company.
 Intangible assets acquired through business acquisition are comprised of customer relationships, non-compete agreements, revenue
 sharing agreements, user base, technologies and games. Please refer to Note 4 – “Business Combination” for goodwill and intangible
 assets acquired through business combination.

       All intercompany transactions and balances were eliminated upon consolidation.

       In accordance with the VIE Agreements, the Company has power to direct activities of the VIE and its subsidiaries, and can have
 assets transferred out of the VIE and its subsidiaries without any restrictions. Therefore, the Company considers that there is no assets in
 the consolidated VIE and its subsidiaries that can be used only to settle obligations of the consolidated VIE except for registered capitals
 of US$7,251 and PRC statutory reserves of US$9,903, of their VIE and VIE’s subsidiaries, as of December 31, 2016. As the VIE and its
 subsidiaries are incorporated as limited liability companies under the PRC Company Law, and as such the creditors of liabilities of the
 PRC incorporated VIE have recourse only to the assets of these entities. Accordingly, the creditors of all the liabilities of the Company’s
 consolidated VIE do not have recourse to the Company’s general credit.

       Currently, there is no contractual arrangement that could require the Company to provide additional financial support to the VIE.
 As the Company is conducting mobile value added services, enterprise mobility, advertising business and other services through the VIE
 and its subsidiaries in the PRC, the Company may provide such support on a discretional basis in the future, which could expose the
 Company to a loss.

       There are no VIE where the Company has variable interests but is not the primary beneficiary.

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 17. CONVERTIBLE DEBT
       In October 2013, the Company issued US$172,500 in aggregate principle amount of 4.00% Convertible Senior Notes due
 October 15, 2018 (the “Notes”) at par. The Notes may be converted, under certain circumstances, based on an initial conversion rate of
 39.0472 American depository shares (“ADSs”) per US$1,000 principal amount of the Notes (which represents an initial conversion
 price of US$25.61 per ADS).

       The Notes are the Company’s general unsecured obligations that rank (1) senior in right of payment to all of the Company’s
 indebtedness that is expressly subordinated in right of payment to the Notes, (2) equal in right of payment with all of the Company’s
 liabilities that are not so subordinated, (3) effectively junior to any of the Company’s secured indebtedness to the extent of the value of
 the assets securing such indebtedness, and (4) structurally junior to all indebtedness and other liabilities of the Company’s subsidiaries
 and consolidated affiliated entities.

       Accounting for Convertible Senior Notes and issuance cost are summarized as follows:
      The Company has accounted for the Notes in accordance with ASC 470-20, as a single instrument as a non-current liability. The
 Notes are initially carried at the gross cash received at the issuance date.

      The net proceeds the Company received from the issuance of the Notes were US$166,395. The Company will pay cash interest at
 an annual rate of 4.00% on the Notes, payable semi-annually in arrears on April 15 and October 15 of each year, beginning on April 15,
 2014.

       Debt issuance costs were US$6,834, which comprises of underwriter fees, professional fees paid to accounting and legal
 consultants and other miscellaneous expenses occurred specifically for the debts. Debt issuance costs were initially capitalized as
 deferred charges in other non-current assets and are amortized as interest expenses over the period of three years from the inception date
 of the Notes to the first redemption date, using the effective interest method.

       The interest expense included in the consolidated statements of operations is as follows:

                                                                                          For the years ended December 31,
                                                                                            2015                   2016
                                                                                            US$                    US$
                  Interest expense at an annual rate of 4.00%                                   6,900                 5,175
                  Amortization of debt issuance costs                                           2,339                 1,839
                  Total interest expense                                                        9,239                 7,014

      The Company has repurchased an aggregate principal amount of US$172,500 of all the outstanding Notes upon exercise of the put
 option by holders of the Notes. The repurchase price equals to 100% of the principal amount of the Notes to be repurchased, plus
 accrued and unpaid interest up to, but excluding, October 15, 2016. The balance of the Notes as of December 31, 2016 is zero.


 Convertible Notes issued in October 2016
      In October 2016, Pursuant to an agreement between the Company and Zhongzhi Hi-Tech Overseas Investment Ltd. (“Zhongzhi
 Hi-Tech”), the Company issued an aggregated principal amount of US$220,000 of convertible note with an interest of 8.0% per annum
 to Zhongzhi Hi-tech. The convertible note will mature in October 2018 (the “2018 Notes”). The 2018 Notes will be convertible, at the
 Holder’s option, to the Company’s American depositary shares (“ADSs”), each representing five Class A common shares of the
 Company, at a conversion price of US$6.00 per ADS at any time prior to the close of business on the second Business Day immediately
 preceding the Maturity Date, October 1, 2018.

     At the same time, RPL and Dr. Shi entered into an agreement with Zhongzhi Hi-Tech, that RPL and Dr. Shi jointly agreed to pay
 Zhongzhi Hi-Tech additional guaranteed minimum interests of 2.0% of the principal amount of the 2018 Notes (“additional interest”). In

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 addition, unless the 2018 Notes is duly converted into Conversion ADSs in accordance with the terms and conditions set forth in the
 2018 Notes therein, RPL and Dr. Shi agree to, jointly and severally, guarantee and pay to Zhongzhi Hi-Tech an additional accrued
 interests equal to two point five percent (2.50%) per annum of the principal amount outstanding under the 2018 Notes, from the date
 hereof until the Maturity Date if no conversation exercised (“contingent interest”).

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